Case 3:20-cv-04423-JD Document 302-7 Filed 04/07/23 Page 1 of 7




         EXHIBIT 15
        to the Declaration of Qifan Huang
       PUBLIC VERSION - REDACTED
Case 3:20-cv-04423-JD Document 302-7 Filed 04/07/23 Page 2 of 7
Case 3:20-cv-04423-JD Document 302-7 Filed 04/07/23 Page 3 of 7
Case 3:20-cv-04423-JD Document 302-7 Filed 04/07/23 Page 4 of 7
Case 3:20-cv-04423-JD Document 302-7 Filed 04/07/23 Page 5 of 7
Case 3:20-cv-04423-JD Document 302-7 Filed 04/07/23 Page 6 of 7
Case 3:20-cv-04423-JD Document 302-7 Filed 04/07/23 Page 7 of 7
